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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-13-188-3
                                                  §
                                                  §
                                                  §
ANTOINNE QUINAY JACKSON                           §

                                                ORDER

       Defendant Jackson filed an unopposed motion for continuance, (Docket Entry No. 50). The

court finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendant in a speedy trial. The motion for

continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     August 19, 2013
       Responses are to be filed by:                   September 3, 2013
       Pretrial conference is reset to:                September 16, 2013 at 8:45 a.m.
       Jury trial and selection are reset to:          September 23, 2013 at 9:00 a.m.


               SIGNED on May 13, 2013, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
